Case 1:21-cr-00003-RCL Document 52 Filed 06/23/21 Page 1 of 1

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Case No. 21-cr-3 (RCL)

JACOB ANTHONY CHANSLEY,

Defendant.

 

 

ORDER

The Government’s motion [50] for leave to file document under seal is hereby GRANTED
IN PART and DENIED IN PART. Exhibit 2 [50-3] to the Government’s supplement [50-1] to
its opposition brief [44] shall remain SEALED. The Government’s motion [50] for leave to file
document under seal, however, does not contain any personal identifying information and thus
shall be UNSEALED.

Accordingly, the Court directs the Clerk of Court to UNSEAL ECF Nos. 50, 50-1 & 50-2.

ECF No. 50-3 shall remain SEALED.

It is SO ORDERED.
Date: June 23. 2021 Gog C- Tiwaisetic

 

Hon. Royce C. Lamberth
United States District Judge
